Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 1 of 14. PageID #: 484069




                              EXHIBIT 6
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 2 of 14. PageID #: 484070
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 3 of 14. PageID #: 484071
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 4 of 14. PageID #: 484072
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 5 of 14. PageID #: 484073
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 6 of 14. PageID #: 484074
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 7 of 14. PageID #: 484075
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 8 of 14. PageID #: 484076
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 9 of 14. PageID #: 484077
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 10 of 14. PageID #: 484078
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 11 of 14. PageID #: 484079
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 12 of 14. PageID #: 484080
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 13 of 14. PageID #: 484081
Case: 1:17-md-02804-DAP Doc #: 3129-7 Filed: 01/31/20 14 of 14. PageID #: 484082
